                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               CASE NO. 5:22-cv-00383-BO-RN


PABLO ESPIN, NICHOLAS PADAO,                               )
JEREMY BELL and KEITH TAYLOR,                              )
on behalf of themselves and others similarly               )
situated                                                   )
                                                           )
           Plaintiffs,                                     )
                                                           )
vs.                                                        )
                                                           )
CITIBANK, N.A.                                             )
                                                           )
           Defendant.                                      )


            ORDER GRANTING JOINT MOTION TO SET A BRIEFING SCHEDULE
                             FOR PLAINTIFFS' MOTION
          FOR LEAVE TO FILE SECOND AMENDED COMPLAINT AND CITIBANK'S
           RENEWED MOTION TO COMPEL ARBITRATION AND STAY ACTION


           Having considered the parties' Joint Motion to Set a Briefing Schedule for Plaintiffs'

Motion for Leave to File Second Amended Complaint and Citibank's Renewed Motion to

Compel Arbitration and Stay Action (Dkt. 74), this Court ORDERS that the Joint Motion is

GRANTED. The parties shall adhere to the following deadlines:

      •    Plaintiffs' Motion for Leave to File Second Amended Complaint

               o May 7, 2025: Plaintiffs' deadline to file Motion for Leave to File Second

                   Amended Complaint.

               o June 6, 2025: Citibank's deadline to file either an opposing brief or a notice of

                   non-opposition to Plaintiffs' motion.

               o July 7, 2025: Plaintiffs' deadline to file a reply brief if Citibank opposes

                   Plaintiffs' motion.




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   •   Citibank's Renewed Motion to Compel Arbitration

           o 45 days from the later of (1) the filing of the Second Amended Complaint or (2)

              entry of an order denying leave to amend: Citibank's deadline to file its Renewed

              Motion to Compel Arbitration.

           o 60 days after the filing of the renewed motion: Plaintiffs' deadline to file its

              opposing brief to Citibank's renewed motion.

           o 45 days after Plaintiffs' opposing brief: Citibank's deadline to file its reply brief.

       All further proceedings shall be conducted in accordance with the Federal Rules of Civil

Procedure and the Local Rules of Civil Practice and Procedure.

SO ORDERED, this the·// day of April, 2025.

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                                              United States District Judge




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